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 4                               UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6
 7 UNITED STATES OF AMERICA,                            )
                                                        )
 8                        Plaintiff,                    )      Case No. 2:14-cr-00321-GMN-NJK
                                                        )
 9 vs.                                                  )
                                                        )      ORDER SETTING HEARING
10 KEITH WILLIAMS,                                      )
                                                        )
11                        Defendant.                    )      (Docket No. 184)
                                                        )
12
13          Defendant Keith Williams has submitted a motion to dismiss appointed counsel and appoint new
14 counsel. Docket No. 184. The Court hereby sets a hearing on Defendant’s motion for July 7, 2016, at
15 11:00 a.m. in courtroom 3B. Defendant and his counsel are required to be present in the courtroom at
16 the hearing.
17          IT IS SO ORDERED.
18          DATED: July 5, 2016.
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20                                              NANCY J. KOPPE
                                                United States Magistrate Judge
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